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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ALABAMA
SOUTHERN DISTRICT

BRIAN A. DEKLE and JOHN RAMSAY,
Plaintiffs,

vs. Case No.: 1:15-CV-00069
GLOBAL DIGITAL SOLUTIONS, INC,;
NORTH AMERICAN CUSTOM SPECIALTY
VEHICLES, INC.; and RICHARD J.
SULLIVAN,

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Defendants.

 

SECOND AMENDED COMPLAINT

 

Plaintiffs, pursuant to Order of the Court (Doc. 29)' amend their First Amended Complaint to address
pleading deficiencies identified in said Order.’

As amended, the Complaint reads as follows:

PARTIES
1. Plaintiff Brian A. Dekle is a resident of Baldwin County, Alabama, and Plaintiff John

Ramsay is a resident of Mobile County, Alabama.

 

‘Consistent with the Suggestion of Death (Doc. 31), sadly, Plaintiff Brian Dekle passed
away on June 2, 2015. A probate estate has not yet been opened, but a petition to probate his last
will and testament will be filed in Baldwin County, Alabama very soon. Plaintiffs’ counsel are
in the position of not yet being authorized by Plaintiff Dekle’s Personal Representative to file this
amended complaint or otherwise to act on behalf of Plaintiff Dekle’s interest, but today’s
deadline for filing this Second Amended Complaint, together with the surviving Plaintiff John
Ramsay’s interest, dictate that this Second Amended Complaint be filed today.

*Plaintiffs plan to seek leave to file a Third Amended Complaint to add allegations of
Defendant GDSI’s breach of its obligation to issue additional stock to Plaintiffs. Those
additional allegations would not turn on matters addressed in the Court’s Order. Plaintiffs’
counsel deemed inappropriate, at this time, the addition of those allegations.

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On Defendant Global Digital Solutions, Inc. (“GDSTI”), is a publicly traded Delaware corporation
with its principal place of business in Florida, and is the sole shareholder of Defendant North American
Custom Specialty Vehicles, Inc. (“Defendant NACSV”).

3. Defendant NACSV is a Delaware corporation formerly known as GDSI Acquisition
Corporation and is the surviving entity from the merger of GDSI Acquisition Corporation and North
American Custom Specialty Vehicles, L.L.C., an Alabama limited liability company (the “Original
NACSV”).

4. Defendant Richard J. Sullivan (“Sullivan”) is, and was at all times pertinent hereto, President,
CEO, and Chairman of the Board of Defendant GDSI and was in a position to, and did control, GDSI.
Sullivan’s residence is believed to be in Florida.

5. Federal diversity jurisdiction exists pursuant to 28 U.S.C. § 1332 because Plaintiffs are
residents of a different state than Defendants and because the value of the matter in controversy exceeds
$75,000, and pursuant to 28 U.S.C. § 1331 as a result of the Rule 10b5 claim arising under the Securities
Act of 1934.

6. Venue in this district is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions on which the claims are based occurred in the Southern District of Alabama.

SUBJECT MATTER
7. This lawsuit arises out of a transaction in which Plaintiffs sold their interest in Original
NACSV to GDSI Acquisition Corporation in exchange for cash and GDSI stock. The transaction details
are set forth in that certain Equity Purchase Agreement (“the Purchase Agreement”) attached to this Second
Amended Complaint as Exhibit “A”. The Purchase Agreement required Defendant GDSI and Original
NACSV, among other things, (a) to pay additional cash consideration upon the post-closing sale of certain

assets (“the 3.3 (d)(i) Assets”) (Section 3.3 (d)(i)); (b) to pay additional stock consideration based on the

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Company’s post-closing performance; and (c) “to use reasonable [sic] commercial efforts to operate
[Original NACSV] on a profitable basis and consistent [sic] with its historical practices” (Section 6.4).
Defendants breached their obligations to pay the additional cash consideration ($406,000.00 is presently due
Plaintiffs pursuant to Section 3.3 (d)(i), but Defendants GDSI and NACSV have disavowed that obligation
and thus far refused to discharge it, despite having the funds to do so); to use commercially reasonable
efforts to generate a profit (Defendants GDSI and NACSV have overspent funds in making a flashy video
and purchasing an ocean-front condominium); and to operate the Company consistently with historical
practices (Defendants GDSI and NACSV have changed the Company’s longstanding practice of not
requiring pre-payments/deposits for certain customers, resulting in cancelled or failed sales) and have forced
out employees on whom the Company depends for profitability.

8. Further, to induce Plaintiffs to accept the issuance of GDSI stock as partial consideration for
the sale, Defendants GDSI and Sullivan made false or misleading statements, or failed to state facts
necessary to make their statements not misleading, with the intent to deceive Plaintiffs, causing them
financial harm. At the time of the closing, the GDSI stock was trading for $0.35 per share, but now, just
over twelve (12) months later, the stock price has fallen to $0.05 per share (a decline of almost 90%), the
reasonable inference being that GDSI’s and Sullivan’s misleading, fraudulent or other wrongful statements
have been discovered by the market. These actionable misrepresentations are more particularly set forth

below.

STATEMENT OF THE CLAIM
9. As set out in further detail below, Plaintiffs claim that (a) Defendants GDSI and NACSV
breached their contractual obligations as aforesaid and (b) Defendants GDSI and Sullivan, by virtue of their

material misrepresentations in connection with the issuance of GDSI stock to Plaintiffs, violated the

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securities laws of the United States and the State of Alabama, respectively, the United States Securities Act

of 1934 and Code of Alabama Section 8-6-19 (1975).

FACTUAL ALLEGATIONS MATERIAL TO ALL COUNTS

10. Plaintiffs were the founders and only members of the Original NACSV. Original NACSV
was in the business of designing and producing custom mobile command centers. Customers were
principally law enforcement and military agencies. Plaintiff Dekle was the manager of the business and
discharged those duties occasionally from the company’s plant in Melbourne, Florida, occasionally from his
home in Baldwin County, Alabama, and occasionally traveling throughout the United States and other
countries to market, deliver, train, etc. in connection with mobile command centers. Since his terminal
pancreatic cancer diagnosis in July of 2013, Plaintiff Dekle ran the business of the Original NACSV
predominantly from Baldwin County, Alabama.

11. In 2014, GDSI and Sullivan became interested in purchasing Original NACSV. Plaintiff
Dekle, due to his cancer battle, was often unable to travel and, therefore, negotiated with GDSI and
Sullivan, via telephone and email, from Plaintiff's home in Baldwin County, Alabama.

12. Plaintiff Dekle, particularly given his health condition, wanted an all cash deal for the benefit
of his family, but Defendants GDSI and Sullivan attempted to induce, and later succeeded in inducing,
Plaintiffs to accept newly-issued GDSI stock as part consideration.

13. Beginning in April 2014 and continuing through the closing on June 16, 2014, Defendant
Richard Sullivan, in his individual capacity and in his representative capacity for Defendant GDSI,
methodically took advantage of Plaintiff Dekle’s situation by continually deceiving Plaintiff Dekle about
Defendant GDSI’s ability and standing. While engaged in these misleading communications, Defendant

Sullivan knew that his so-called business plan was nothing but smoke and mirrors.

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14. In retrospect, Defendant Sullivan’s scheme of deception and systematic defrauding of
Plaintiffs are apparent. For example, Defendant Sullivan represented to Plaintiff Dekle that he had the
connections, capital, and other pieces in place to build a turn key conglomerate military and law enforcement
support business that would initially include Original NACSV, Lawmen’s Safety Supply and Remington
Outdoor Supply Company.’

15. Again in retrospect, Defendant Sullivan carefully carried out a name-dropping program to
mislead Plaintiff Dekle into believing that Defendant GDSI was indeed morphing into this conglomerate.
Prominent in this name-dropping was Massachusetts politician Scott Brown. Mr. Brown had been placed
on GDSI’s Advisory Board earlier in the year, and Defendant Sullivan touted that political connection in the
earliest days of his courting of Plaintiff Dekle. However, in June 2014, media reports that highlighted Mr.
Brown’s becoming an Advisory Board Member in exchange for the issuance to him of $1.3m in GDSI stock
prompted Mr. Brown to resign from the Board. The June 9, 2014 New Hampshire Democratic Newsletter
opened as follows: This week, new disclosures about Scott Brown’s $1.3 million advisory role with a shady
beauty supply company turned arms manufacturer, raised serious questions about fraudulent behavior that
could spark a securities investigation. The Boston Globe reported that accountants said that GDSI’s “filings
raise a number of warning signs for investors, including its varying business model and actual products”.
The Huffington Post opined that “[t]his company is a total sham, even within the league of penny stocks.”
New England Cable News described it this way: the scheme is where you sell stock in a company that
doesn’t do anything and the people who invested in it are left with nothing. ... When Plaintiffs counsel
asked Sullivan about Mr. Brown’s resignation, Mr. Sullivan claimed that Mr. Brown was simply the target

of a Democratic Party-leaning media.

 

Even as of the date of the filing of this Second Amended Complaint, the opening
statement of GDSI’s website touts GDSI’s “acquisition and integration strategy [as] the linchpin
to [its] goal of becoming a leading provider of defense technology-based solutions and systems to
commercial customers, the U.S. military and foreign allies, and U.S. government civil agencies
and friendly counterparts.”

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16. The name-dropping continued to an extreme extent when Defendant Sullivan, Defendant
GDSI’s attorney,’ and Edwin Wang’ arranged a May 20, 2014, afternoon conference call, among Defendant
Sullivan, said attorney, and Mr. Wang and Plaintiffs’ counsel Richard E. Davis and CPA J. Kenny Crow,
Jr. in which Mr. Wang and Defendant Sullivan privately announced an upcoming public announcement that
GDSI was adding to its Board of Directors a prominent European citizen, whose pedigree, experience,
standing in the arms community, and access to capital would enable GDSI to complete the purchase of
Remington Outdoor Supply Company.® This representation was made by both Mr. Wang and Defendant
Sullivan; it was material in its purpose and effect to induce the Plaintiffs into accepting stock rather than
cash in the sale of the business, and it was false in that it was untrue and knowingly presented as fact in order
to accomplish the said purpose. There is no other conceivable reason to make such private announcement
to Plaintiffs other than to mislead Plaintiffs into this sale. Specifically, Messrs. Wang and Sullivan stated
that the new board member was a descendant of King Leopold II, was an advisory board member of the
European Commission on Cyber Security, and was a Minister of Defence: Karl-Theodor Maria Nikolaus
Johann Jacob Philipp Franz Joseph Sylvester Freiherr von und zu Guttenberg. According to Messrs. Wang
and Sullivan, the announcement of this Board membership was just days away, and they encouraged
Plaintiffs’ representatives to encourage Plaintiffs to take GDSI stock in lieu of cash in order to take
advantage of the stock price bump that would immediately and inevitably follow the public announcement.

However, no announcement was ever made, and the purported new board member never became a board

 

“Plaintiffs are unaware of any knowing participation by this attorney of his clients’
misconduct, so his name is not included in this complaint. However, his name can be added if
necessary for pleading requirement purposes.

°On information and belief, Mr. Wang is, or, at least at the time, was, a member of
GDSI’s Team of Senior Advisors, and was reputed to be an international financing expert.

°A fuller discussion of this sham transaction involving Remington appears below.

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member. Upon reflection, this supposed addition to the Board was simply more name-dropping intended
to dupe Plaintiffs into believing that GDSI stock would be adequate consideration for the sale of Original
NACSV.

17. The pattern of deceit continued, or may have started with reference to GDSI’s purported plan
to buy Remington Outdoor Supply Company. As stated above, the addition to the Board of King Leopold’s
descendant was represented to be part of GDSI’s plan to purchase Remington. However, recent Internet
research reveals that Remington’s CEO George Kollitides had declared GDSI’s bid a “publicity stunt from
an agenda-driven group with no credible financing options”’. Again, the noise about Remington was
nothing more than “a resounding gong or a clanging cymbal” (1* Corinthians, Chapter 13, v 1), which 2000
years later, in this context, describes securities fraud.

18. | Defendants GDSI’s and Sullivan’s “publicity stunts”, name-dropping and general misleading
ways led to a speciously valued stock, which collapsed when the market realized that GDSI’s business plan
was a sham.

19. | Other representations made by Defendants GDSI and Sullivan that Plaintiffs have since
learned to be false include the following:

(A) GDSI was buying Lawmen’s Safety Supply of North Carolina. This statement was
made by Defendant Sullivan between May 2, 2014 and May 20, 2014. This
statement was false and Defendant Sullivan knew it to be false when made. This
statement was false in that Defendant Sullivan knew that GDSI did not have the
financial ability to buy Lawmen’s Safety Supply of North Carolina.

(B) GDSI would fund NACSV’s production so that operating capital would be a non-
issue. This statement was made by Defendant Sullivan between May 2, 2014 and
May 20, 2014. This statement was false and Defendant Sullivan knew it to be false
when made. This statement was false in that Defendant Sullivan knew that GDSI did

not have the financial ability to fund NACSV’s production so that operating capital
would be a non-issue.

 

7See thetruthaboutguns.com, March 12, 2014, Remington: GDSI Bid is a ‘Publicity
Stunt’”

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(C)  GDSI would fund NACSV’s marketing. This statement was made by Defendant
Sullivan between May 2, 2014 and May 20, 2014. This statement was false and
Defendant Sullivan knew it to be false when made. This statement was false in that
Defendant Sullivan misrepresented GDSI’s ability to fund NACSV’s marketing.

(D) GDSI would purchase a 56,000 square foot facility to enable NACSV to produce
command centers at the volume that GDSI’s marketing efforts would generate.
This statement was made by Defendant Sullivan between May 2, 2014 and May 20,
2014. This statement was false and Defendant Sullivan knew it to be false when
made. This statement was false in that GDSI did not intend in good faith to purchase
a 56,000 square foot facility to enable NACSV to produce command centers at the
volume that GDSI’s marketing efforts would generate.

20. The representations identified in subparagraphs 19 (A) through (D) above were false and
made with the intent to deceive Plaintiffs to induce them to accept stock as partial satisfaction of the
purchase price, thereby reducing the value Plaintiffs received. At the time of the closing of the sale by
Plaintiffs to GDSI Acquisition Corporation, Plaintiffs did not realize the fraudulent nature or falsity of these
representations, and as a result, they accepted GDSI stock in reasonable reliance on these fraudulent
statements. The misrepresentations caused the Plaintiffs to accept stock rather than cash as partial payment
of the purchase price which caused the Plaintiffs’ loss.

21. Plaintiffs would not have accepted stock as part consideration and would not have agreed to
accept stock for post-closing consideration, but for the numerous misrepresentations made by Defendants
Sullivan and GDSI throughout the pre-closing discussions.

22. On or about June 16, 2014, Plaintiffs met in Daphne, Alabama, and executed the Purchase
Agreement, pursuant to which Plaintiffs sold their interests in Original NACSV to Defendant GDSI
Acquisition Corporation (now known as Defendant NACSV). Defendant NACSV and Original NACSV
guaranteed the performance of Defendant NACSV under the Purchase Agreement. Defendants delivered
the executed Purchase Agreement and the initial GDSI stock certificates to Plaintiffs in Alabama; therefore,
the final action necessary to complete the closing occurred in Alabama.

23. The Purchase Agreement required Defendant GDSI and Original NACSV, among other

things, (a) to pay additional cash consideration upon the post-closing sale of certain assets (“3.3 (d)(i)

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Assets”) (Section 3.3 (d)(i)); (b) to pay additional stock consideration based on the Company’s post-closing
performance; and (c) “to use reasonable [sic] commercial efforts to operate [Original NACSV] on a
profitable basis and consistent [sic] with its historical practices” (Section 6.4).

24. After the closing, Plaintiff Dekle remained a very active employee of the Company, assisting
with the post-closing transition, contacting customers, assisting with sales, and consulting on operations.
Almost all of these activities were carried out from his home in Baldwin County, Alabama. On December
3, 2014, GDSI changed Plaintiff Dekle’s title to Non-Executive Chairman of the Board, and he continued
to carry on as before, almost always from Baldwin County, Alabama. Due to these activities and Plaintiff
Dekle’s responsibilities, the Company, through the efforts of Plaintiff Dekle, was regularly conducting
business from within the State of Alabama.

25. | ThePurchase Agreement required, among other things, a post-closing accounting adjustment
of balance sheet items. All of the parties looked to Baldwin County/Mobile County, Alabama, accountant
J. Kenny Crow, Jr., to calculate the adjustment amount, and all of the parties relied on said adjustment
amount as calculated and released by Mr. Crow from one of his Alabama offices.

26. Some of the 3.3 (d)(i) Assets were sold to Communication Laboratories, Inc. for $200,000.00
and $100,000.00, and some were sold to Potter County, Pennsylvania, for $162,000.00 (of which
$106,000.00 belonged to Plaintiffs). Plaintiffs owned perfected UCC security interests in said Assets, and
the Purchase Agreement required Defendants to remit the proceeds of the sales of those Assets to Plaintiffs
within thirty (30) days after receipt of the purchase price, less any applicable sales tax.

27. By the time the sales of the 3.3 (d)(i) Assets were made, Defendants had breached their
obligations to use commercially reasonable efforts to generate a profit as they overspent in making a flashy
video and purchasing an ocean-front condominium. Defendants also breached their obligations to operate
the Company consistently with historical practices, as they changed the Company’s longstanding practice

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of not requiring pre-payments/deposits for certain customers, resulting in cancelled or failed sales. Further,
by the time those sales were made, Plaintiffs had seen their stock value decline dramatically from $0.35 per
share to $0.04 per share and otherwise realized that they had been defrauded into accepting stock in a failing
business.

28. The proceeds of the sale of the 3.3 (d)(i) to Communication Laboratories, in the amount of
$300,000.00, were delivered to Plaintiff Dekle in Baldwin County, Alabama. He offered to overnight these
funds, despite his security interest therein, to Defendants on the condition that the same would be deposited
and returned to Plaintiffs. However, Defendants declined that offer and instead repudiated their obligation
to remit those funds (as well as the $106,000 from Potter County) in accordance with the contractually-
required schedule. Therefore, Plaintiffs turned the $300,000.00 in checks over to their [undersigned]
Alabama counsel, who continues to hold them.

29. Defendants have systematically alienated customers, vendors, and employees and have
substantially and irreparably damaged the goodwill of the business, causing a substantial devaluation both
of the business and Plaintiffs’ shares of stock in GDSI and impairing the prospects of Plaintiffs’ earning any
further Post-Closing Additional Consideration.

30. Defendants also ran off Wally Bailey, a key longtime employee of the Company, assuring

that the Company would suffer very difficult times trying to transition to new ownership.

COUNT ONE
SPECIFIC PERFORMANCE
31. Plaintiffs hereby incorporate the allegations set forth contained in all of the preceding

paragraphs.

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WHEREFORE, Plaintiffs respectfully request an order finding that the proceeds of the sales of the
3.3 (d)(i) Assets rightfully belong to the Plaintiffs and directing Defendants to instruct Communications

Laboratories, Inc. to reissue the said $300,000.00 in checks to Plaintiffs to discharge, in part, Defendants’

obligations to Plaintiffs under the Purchase Agreement.

COUNT TWO
BREACH OF CONTRACT - MONEY DAMAGES
32. Plaintiffs hereby incorporate the allegations set forth contained in paragraphs 1 - 30.
33. | Defendants GDSI and NACSV have materially breached the Purchase Agreement, and as a

proximate consequence of said breach, Plaintiffs have suffered damages.

WHEREFORE, Plaintiffs demand judgment for compensatory damages against Defendants NACSV

and GDSI, jointly and severally, plus interest and costs.

COUNT THREE
Violation of Rule 10b5
34. Plaintiffs hereby incorporate the allegations set forth contained in paragraphs 1 - 21.
35. The actions of Defendants GDSI and Sullivan violate the United States Securities Act of
1934, including SEC Rule 10b5 promulgated pursuant to the Act.
36. | Defendants GDSI and Sullivan made the false and misleading statements to Plaintiffs set out
above, in connection with the sale by Defendant GDSI to Plaintiffs of the GDSI stock, with the intent to

deceive, manipulate or defraud, and Plaintiffs reasonably relied on said false and misleading statements and

suffered damages as a result.

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WHEREFORE, Plaintiffs demand judgment against Defendants GDSI and Sullivan, jointly and

severally, plus interest and costs.

COUNT FOUR
VIOLATION OF THE ALABAMA SECURITIES ACT

37. Plaintiffs hereby incorporate the allegations set forth contained in paragraphs 1 - 21.

38. | Defendants GDSI and Sullivan’s actions as set out above violated Ala. Code § 8-6-17 in
connection with the offering of and a sale of securities in Alabama, with said sale being consummated in
Alabama.

39. As a result of Defendants GDSI and Sullivan’s violation of Ala. Code Section 8-6-17,
Plaintiffs are entitled to the relief set out in § 8-6-19, namely: “to recover the consideration paid for the
security [GDSI stock], together with interest at six percent per year from the date of payment, court costs

and reasonable attorneys’ fees.”

WHEREFORE the premises considered, Plaintiffs demand judgment against Defendants, GDSI, and

Sullivan, jointly and severally.

DATED June 15, 2015.
Respectfully submitted,

/s/ Richard E. Davis
RICHARD E. DAVIS (DAV046)

Of Counsel:

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CERTIFICATE OF SERVICE

[hereby certify that on June 15, 2015, I electronically filed the foregoing with the Clerk of the Court
using the ECF system which will send notification of the filing to all parties and/or counsel of record.

s/ Richard FE. Davis
RICHARD E. DAVIS

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